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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SEVEN NETWORKS, LLC,

                       Plaintiff,
                                                     CIVIL ACTION NO. 2:17-CV-442-JRG
v.
                                                     PATENT CASE
GOOGLE LLC,

                       Defendant.


                                             ORDER
     Before the Court is Plaintiff SEVEN Networks, LLC (“SEVEN”) and Defendant Google

LLC’s (“Google”) Joint Motion to Stay All Deadlines (the “Motion”). (Dkt. No. 608.) SEVEN

and Google represent that they have reached an agreement in principle that settles all matters in

controversy between them in the above-captioned matter. Accordingly, the parties request that

this Court stay the above-captioned case against Google to allow the agreement to be finalized,

settlement obligations to be met, and a dismissal stipulation to be filed with the Court.

     Having considered the Motion, the Court is of the opinion that it should be and hereby is

GRANTED. It is therefore ORDERED that all pending deadlines in the above-captioned case

are hereby STAYED for twenty (20) days in order to facilitate the settlement between the parties

and during which time the parties shall file the appropriate dismissal papers with the Court.

     So Ordered this
     Jan 20, 2019
